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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

   LIGHTHOUSE ASSETS LLC et al.,
       Plaintiffs,

       v.
                                                          Civil Action No. ELH-19-1072
   THE COUNCIL OF UNIT OWNERS OF
   SPRING MEADOWS CONDOMINIUM
   INC., et al.
       Defendants.
                                         MEMORANDUM

       On February 19, 2019, in the Circuit Court for Garrett County, Maryland, plaintiff Lighthouse

Assets LLC filed suit against defendants the Council of Unit Owners of Spring Meadows

Condominium Inc. (the “Council”) and EquityExperts.org, L.L.C. (“EquityExperts”). ECF 1-1 at 7-

13 and ECF 2 (the “Complaint”). The Complaint contained two counts. The first count alleged that

defendants violated the Fair Debt Collection Practices Act (“FDCPA”), as amended, 15 U.S.C. §

1692 et seq. The second count sought declaratory judgment under Md. Code (2013 Repl. Vol., 2018

Supp.), § 3-406 of the Courts and Judicial Proceedings Article, to the effect that plaintiffs do not owe

defendants the $12,503.03 to which defendants claim they are entitled.

       EquityExperts timely removed the case to federal court on April 9, 2019, pursuant to

28 U.S.C. §§ 1441 and 1446. ECF 1-2 (the “Notice”). In particular, EquityExperts asserted that the

Complaint raises a federal question, because it asserts violation of the FDCPA. Id. ¶¶ 2, 3.

       On May 2, 2019, Lighthouse filed a “First Amended Complaint” (ECF 14, “Amended

Complaint”), adding William Weiss as a plaintiff. And, of import here, the Amended Complaint

abandoned the count brought under the FDCPA, leaving only the count for declaratory judgment

under Maryland law.
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        As a result, the suit no longer presents a federal question. Moreover, there is no diversity

jurisdiction under 28 U.S.C. § 1332(a), as the amount-in-controversy does not exceed $75,000. See

ECF 1-1 at 5.

        A federal court has “an independent obligation to determine whether subject-matter

jurisdiction exists, even when no party challenges it.” Hertz Corp. v. Friend, 559 U.S. 77, 94 (2010).

On May 20, 2019, I held a telephone status conference with the parties, in which I raised with counsel

the matter of the Court’s subject matter jurisdiction. See Docket. The next day, EquityExperts moved

to dismiss the Amended Complaint, pursuant to the Rooker-Feldman Doctrine. ECF 20.

        Under 28 U.S.C. § 1367(a), a district court is authorized to resolve state law claims under the

grant of supplemental jurisdiction. Pursuant to § 1367(c)(3), however, a district court “may decline

to exercise supplemental jurisdiction over a claim . . . if . . . the district court has dismissed all claims

over which it has original jurisdiction.”

        In Shanaghan v. Cahill, 58 F.3d 106 (4th Cir. 1995), the Fourth Circuit recognized that under

§ 1367(c)(3), “trial courts enjoy wide latitude in determining whether or not to retain jurisdiction

over state claims when federal claims have been extinguished.” See also ESAB, 685 F.3d at 394

(“Section 1367(c) recognizes courts’ authority to decline to exercise supplemental jurisdiction in

limited circumstances, including . . . where the court dismisses the claims over which it has original

jurisdiction.”); Hinson v. Northwest Fin. S. Carolina, Inc., 239 F.3d 611, 616 (4th Cir. 2001) (stating

that, “under the authority of 28 U.S.C. § 1367(c), authorizing a federal court to decline to exercise

supplemental jurisdiction, a district court has inherent power to dismiss the case . . . provided the

conditions set forth in § 1367(c) for declining to exercise supplemental jurisdiction have been met”).

See, e.g., Ramsay v. Sawyer Property Management of Maryland, LLC, 948 F.Supp.2d 525, 537 (D.

Md. 2013) (declining to exercise supplemental jurisdiction over plaintiff’s state law claims after



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dismissing FDCPA claims); Int’l Ass’n of Machinists & Aerospace Workers v. Werner-Masuda, 390

F.Supp.2d 479, 500 (D. Md. 2005) (“Because the court will dismiss the claims over which it has

original jurisdiction, the court will decline to exercise supplemental jurisdiction over the remaining

state law claims.”).

       When exercising this discretion, the Supreme Court has instructed federal courts to “consider

and weigh . . . the values of judicial economy, convenience, fairness, and comity in order to decide

whether to exercise jurisdiction over . . . pendent state-law claims.” Carnegie-Mellon Univ. v. Cohill,

484 U.S. 343, 350 (1988). The Court has also said: “Needless decisions of state law should be

avoided both as a matter of comity and to promote justice between the parties, by procuring for them

a surer-footed reading of applicable law.” United Mine Workers of America v. Gibbs, 383 U.S. 715,

726 (1966).

       In the Amended Complaint, plaintiffs acknowledge that the Court may decline to exercise

supplemental jurisdiction over this suit pursuant to 28 U.S.C. § 1367(c). Id. ¶ 8. Additionally,

plaintiffs state that they “do not feign any appreciable preference as to whether such hearing comes

in federal or state court.” Id. ¶ 8. Rather, they “defer to this Honorable Court’s wishes, which may

be exercised sua sponte[.]” Id.

       This case has merely been pending in this Court for six weeks. In the absence of a viable

claim that comes within federal question jurisdiction, I decline to exercise supplemental jurisdiction

over the remaining state law claim. Therefore, the suit shall be remanded to the Circuit Court for

Garrett County, Maryland.

       An Order follows, consistent with this Memorandum.

Date: May 23, 2019                                                   /s/
                                                      Ellen L. Hollander
                                                      United States District Judge



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